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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF VIRGINIA
                              CHARLOTTESVILLE DIVISION

ROBERT SCHILLING,                              )
                                               )
               Plaintiff,                      )
                                               )
v.                                             )       Case No. 3:21cv00022
                                               )
RICHARD “JAKE” WASHBURNE,                      )
et al.,                                        )
                                               )
               Defendants.                     )


           REPLY MEMORANDUM IN SUPPORT OF MOTION TO DISMISS
                 OF DEFENDANTS WASHBURNE AND MALLEK

       Defendants Richard Washburne and Leo Mallek, by counsel, submit this reply

memorandum in support of their motion to dismiss pursuant to Rule 12(b)(6) of the Federal

Rules of Civil Procedure.

                                            Section 1983

       It is fundamental in a case brought under 42 U.S.C. § 1983 that the plaintiff plead the

actions of the defendants that violated plaintiff’s constitutional rights. Liability under § 1983 is

“personal, based upon each defendant’s own constitutional violations.” Trulock v. Freeh, 275

F.3d 391, 402 (4th Cir. 2001) (internal citations omitted). Thus, a § 1983 claim requires factual

detail about each defendant’s personal involvement. See Wilcox v. Brown, 877 F.3d 161, 170

(4th Cir. 2017) (explaining that liability will lie under § 1983 only “where it is affirmatively

shown that the official charged acted personally” in the violation of plaintiff’s rights and

affirming dismissal of claim where plaintiff did not allege personal involvement by defendant)

(quoting Vinnedge v. Gibbs, 550 F.2d 926, 928 (4th Cir. 1977)).




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        Schilling’s allegations fall short of the standard. Schilling alleges that Washburne misled

him when Washburne told Schilling he did not have to wear a mask to vote. Washburne’s

statement did not violate any constitutional right of Schilling. Likewise, Schilling alleges that

Mallek accosted him at the doorway and questioned him about wearing a mask to vote but

stopped short of pleading that Mallek did anything more. Thus, Schilling has not asserted a

claim under 42 U.S.C. § 1983 against Mallek. Schilling’s argument that Mallek and Washburne

“acted in concert” does not satisfy the rigorous pleading requirements of 42 U.S.C. § 1983 in

these circumstances. Schilling’s failure in this regard is illustrated by the argument in his

memorandum that Mallek and Washburne are “natural persons who were responsible for the

conduct alleged” (emphasis added). There is a substantial difference between being

“responsible” for conduct and engaging in the conduct. A claim under 42 U.S.C. § 1983 requires

plaintiff to allege the conduct that Mallek and Washburne engaged in which violated a federal or

constitutional right. Even with inferences as liberal as Schilling argues in his brief, it is clear that

Schilling has failed to allege personal conduct by Mallek and Washburne that state a claim under

42 U.S.C. § 1983.

                                          Voting Rights Act

        Schilling claims that his cause of action is based on 52 U.S.C. § 10307 and that the

decisions he cites in his Complaint stand for the proposition that there is a private cause of action

under the statute. The existence of a private cause of action was not at issue in LULAC v. Public

Interest Legal Foundation, 2018 U.S. Dist. LEXIS 136524 (E.D. Va. August 13, 2018). The

portion of the LULAC decision that Schilling relies on did not address the existence of the cause

of action. The question the Court addressed was whether or not the plaintiff could assert a claim

against a private person under the Voting Rights Act. Since Mallek and Washburne were both




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acting under color of state law, LULAC does not apply. Schilling has not cited any authority for

the proposition that there is a private cause of action under 52 U.S.C. § 10307.

                                         State Law Claims

       Schilling argues that he has stated a claim of assault, battery, and false imprisonment

against Mallek under paragraph 8 of the Complaint. In paragraph 8, he alleges that Mallek and

the John Doe Defendants are liable for the actions of one another because they “acted in concert

and with a common purpose” and were “engaged in a civil conspiracy” to commit the state law

torts. Schilling does not explain how acting in concert and with a common purpose differs from

a civil conspiracy. They are essentially the same. It is well established in Virginia that

individuals in the same employment cannot engage in a conspiracy. To the extent Schilling

relies on the allegations in paragraph 8 of the Complaint, those allegations are a legal nullity.

Schilling alleges a state of facts that cannot exist legally. Employees at the same employer

cannot engage in a conspiracy. The same is true of Schilling’s argument with regard to agency.

He alleges facts (the John Does were agents of Mallek) that defy the legal and statutory

foundation that Mallek is not the employer of the John Does. As a matter of law, the John Does

could not be the agents of Mallek.

       To the extent Schilling alleges that Mallek is liable for the actions of the John Does as

their supervisor, he fails to state a claim under Virginia law. “It has been repeatedly concluded

that Virginia courts do not recognize a claim of negligent supervision. Parrish v. American

Airlines, Inc., 97 Va. Cir. 271, 277 (2017) (internal citations omitted). The court relied upon

Chesapeake & Potomac Telephone Co. v. Dowdy, 235 Va. 55, 61, 365 S.E.2d 751, 754 (1988),

in which the Supreme Court of Virginia stated that in Virginia there is no duty of reasonable care

imposed upon an employer in a supervision of its employees under these circumstances and we




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will not create one here. Id. Even though there is limiting language in Dowdy, courts have

routinely interpreted the decision to hold that negligent supervision is not actionable in Virginia.

Id., citing Lawrence v. Sentara Hospitals-Norfolk, 90 Va. Cir. 232, 233 (2015).

                                          Necessary Parties

       Schilling can only obtain injunctive relief against persons who violated his rights. In this

instance, Mallek and Washburne did not violate his rights as a matter of law and therefore are not

subject to injunction requiring them not to violate his rights in the future.

                                          CONCLUSION

       For the foregoing reasons, Defendants Washburne and Mallek respectfully move the

Court to dismiss the Complaint with prejudice and grant such other relief as the Court may deem

appropriate.


                                               RICHARD “JAKE” WASHBURNE
                                               and LEO MALLEK
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                                CERTIFICATE OF SERVICE

       I hereby certify that on the 13th day of August, 2021, I electronically filed the foregoing

with the Clerk of Court using the CM/ECF system, which will send notification of such filing to:

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